                                                                                                                                         Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 1 of 18




                                                                                                                                                            In the United States District Court
                                                                                                                                                         for the Eastern District of Pennsylvania
                                                                                                                                         GRAPHIC STYLES/                              Civil Action №.
                                                                                                                                         STYLES INTERNATIONAL LLC
                                                                                                                                         775 Second Street Pike, Suite 3R,
                                                                                                                                         Southampton, Pennsylvania 18966

                                                                                                                                                   Plaintiff,

                                                                                                                                              v.
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         SABATINI OF LONDON CO.
                                                                                                                                         1515 Great Falls Street
                                                                                                                                         McLean, Virginia
                                                                                                                                         and
                                                                                                                                         SIMONE ALINE COBB
              MICHAEL J. BROOKS, ESQUIRE




                                                                                                                                         4114 Londerry Drive
                                                                                                                                         Jefferson, Maryland 21755
                                                                                         (215) 230-3761
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                                                                                                                                         and
                                                                                                  ◊




                                                                                                                                         EZA EL DAK SABATINI
                                                                                                                                         1515 Great Falls Street
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         McLean, Virginia 22101
                                                                                                                                         and
                                                                                                                                         SABATINI OF LONDON LLC
                                                                                                                                         1515 Greatfalls Street, Unit 334
                                                                                                                                         McLean, Virginia 22101
                                                                                                                                         and                                                COMPLAINT FOR
                                                                                                                                         EZA E SABATINI                                       COPYRIGHT
                                                                                                                                         1515 Greatfalls Street, Unit 334                   INFRINGEMENT
                                                                                                                                         McLean, Virginia 22101
                                                                                                                                         and
                                                                                                                                         SABATINI CUSTOM TAILOR, LLC
                                                                                                                                         7118 Murray Lane
                                                                                                                                         Annandale, Virginia 22003
                                                                                                                                         and
                                                                                                                                         EZA SABATINI
                                                                                                                                         7118 Murray Lane
                                                                                                                                         Annandale, Virginia 22003
                                                                                                                                         and
                                                                                                                                         SABATINI OF LONDON, LLC
                                                                                                                                         4445 Corporation Lane, Suite 259
                                                                                                                                         Virginia Beach, Virginia 23462
                                                                                                                                         and
                                                                                                                                              Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 2 of 18




                                                                                                                                              IZAK SABATINI
                                                                                                                                              7118 Murray Lane
                                                                                                                                              Annandale, Virginia 22003
                                                                                                                                              and
                                                                                                                                              SUZI SABATINI
                                                                                                                                              7118 Murray Lane
                                                                                                                                              Annandale, Virginia 22003
                                                                                                                                                                                                                      Civil Action
                                                                                                                                                           Defendants.

                                                                                                                                                              COMPLAINT FOR COPYRIGHT INFRINGEMENT
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                                  Plaintiff Graphic Styles/Styles International, LLC by and through its counsel, on personal
                                                                                                                                         knowledge of its member as to its own actions and on information and belief as to the actions,
                                                                                                                                         capabilities and motivation of others, hereby alleges as follows:
                                                                                                                                                  NATURE OF THE CASE
                                                                                                                                         1.       Graphic Styles/Styles International LLC, ("Graphic Styles") brings this action to recover
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                                                                                                                                         damages, expenses, and attorney fees arising from the willful infringement by Defendants, of
                                                                                         (215) 230-3761
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                                                                                                                                         Plaintiff’s registered copyrights on valuable artistic drawings and graphic representations of men's
                                                                                                  ◊




                                                                                                                                         and women's fashion clothing styles, and to obtain injunctive relief against Defendants to cease
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         and desist their infringement and to prevent them from any further unlawful copying and
                                                                                                                                         infringement of Plaintiff’s copyrights.
                                                                                                                                         2.       In violation of the Copyright Act, 17 U.S.C. § 501, et seq., Defendants reproduced and
                                                                                                                                         displayed on their website they established and control, at least 36 separate drawings of men's and
                                                                                                                                         women's fashion clothing styles copied directly from copyrighted stylebooks, without any
                                                                                                                                         authorization or permission from Plaintiff -the owner of all right, title, and interest in all copyrights
                                                                                                                                         covering the drawings and stylebooks- despite express copyright restrictions and prohibitions
                                                                                                                                         against infringement and unauthorized use prominently stated in the stylebooks.
                                                                                                                                         3.       In violation of this Court’s Order of October 27, 2016, noting Defendants are
                                                                                                                                         PERMANENTLY ENJOINED from infringing in any manner, the copyrighted images belonging
                                                                                                                                         to Plaintiff, Defendants as serial copyright infringers continue to reproduce and display on their
                                                                                                                                         website they established and control, drawings of men's and women's fashion clothing styles
                                                                                                                                         copied directly from copyrighted stylebooks, without any authorization or permission from
                                                                                                                                         Plaintiff -the owner of all right, title, and interest in all copyrights covering the drawings and
                                                                                                                                         stylebooks- despite an express Order from this Court.
                                                                                                                                              Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 3 of 18




                                                                                                                                                 THE PARTIES
                                                                                                                                         4.      Graphic Styles is a limited liability corporation with its principal place of business located

                                                                                                                                         at 775 Second Street Pike, Suite 3R, Southampton, Pennsylvania 18966. Graphic Styles, owns all

                                                                                                                                         title, right, interest, ownership, and subsidiary and intellectual property rights in all the federally

                                                                                                                                         registered copyrights covering the drawings and graphic representations of men's fashion clothing

                                                                                                                                         styles that Defendants copied, displayed, and transmitted on Defendants' infringing website.
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         Graphic Styles develops, produces, sells, and distributes stylebooks containing copyrighted

                                                                                                                                         drawings and graphic representations of men's and women's fashion clothing styles and licenses

                                                                                                                                         the use of copyrighted drawings and graphic representations of men's and women's fashion

                                                                                                                                         clothing styles for promotional proposes such as websites, brochures, catalogs, placards and other
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                                                                                         (215) 230-3761




                                                                                                                                         advertising media.
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                                                                                                                                         5.      Defendant Sabatini of London, Co., is a duly registered Virginia for profit Business
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         Corporation, formed February 18, 2015, with its principal place of business address and registered

                                                                                                                                         agent address of 1515 Great Falls Street, McLean, Virginia 22101, is engaged in the business of

                                                                                                                                         selling custom tailored retail apparel for men and women, online at its website

                                                                                                                                         <www.sabatinioflondon.com> and through fittings made on its business premises. Exhibit “A”.

                                                                                                                                         6.      Defendant Simone Aline Cobb, is an owner/director of Sabatini of London, Co., and does

                                                                                                                                         business as, operates, or otherwise controls Sabatini of London, Co. Simone Aline Cobb had the

                                                                                                                                         right and ability to direct or control the wrongful conduct and copyright infringement ("infringing

                                                                                                                                         activities") alleged in this Complaint, did in fact direct and control Defendants' infringing

                                                                                                                                         activities, and derived financial benefit from that wrongful conduct and copyright infringement.

                                                                                                                                         Exhibit “A”.

                                                                                                                                         7.      Defendant Eza El Dak Sabatini, is an owner/director of Sabatini of London, Co., and does

                                                                                                                                         business as, operates, or otherwise controls Sabatini of London, Co. Eza El Dak Sabatini had the
                                                                                                                                              Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 4 of 18




                                                                                                                                         right and ability to direct or control the wrongful conduct and copyright infringement ("infringing

                                                                                                                                         activities") alleged in this Complaint, did in fact direct and control Defendants' infringing

                                                                                                                                         activities, and derived financial benefit from that wrongful conduct and copyright infringement.

                                                                                                                                         Exhibit “A”.

                                                                                                                                         8.      Defendant Sabatini of London LLC, is a duly registered Virginia Limited Liability

                                                                                                                                         Company, formed December 6, 2016, with its principal place of business and registered office
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         address of 1515 Greatfalls Street, Unit 334, McLean, Virginia 22101, is engaged in the business

                                                                                                                                         of selling custom tailored retail apparel for men and women, online at its website

                                                                                                                                         <www.sabatinioflondon.com> and through fittings made on its business premises. Exhibit “B”.
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                                                                                                                                         9.      Defendant Eza E. Sabatini is the registered agent and organizer of Sabatini of London
                                                                                         (215) 230-3761
                                           Attorney-at-Law




                                                                                                                                         LLC. Exhibit “B”. Upon information and belief, Defendant Eza E. Sabatini is an owner/member
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                                                                                                  ◊




                                                                                                                                         of Sabatini of London LLC, and does business as, operates, or otherwise controls Sabatini of
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         London LLC. Eza E. Sabatini had the right and ability to direct or control the wrongful conduct

                                                                                                                                         and copyright infringement ("infringing activities") alleged in this Complaint, did in fact direct

                                                                                                                                         and control Defendants' infringing activities, and derived financial benefit from that wrongful

                                                                                                                                         conduct and copyright infringement.

                                                                                                                                         10.     Defendant Sabatini Custom Tailor, LLC is a duly registered Virginia Limited Liability

                                                                                                                                         Company, formed April 11, 2019, with its principal office address where the records of the limited

                                                                                                                                         liability company are kept of 7118 Murray Lane, Annandale, Virginia 22003, is engaged in the

                                                                                                                                         business of selling custom tailored retail apparel for men and women, online at its website

                                                                                                                                         <www.sabatinioflondon.com> and through fittings made on its business premises. Exhibit “C”.

                                                                                                                                         11.     Defendant Eza Sabatini is an owner/member of Sabatini Custom Tailor, LLC, and does

                                                                                                                                         business as, operates, or otherwise controls Sabatini Custom Tailor, LLC. Eza Sabatini had the
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 5 of 18




                                                                                                                                         right and ability to direct or control the wrongful conduct and copyright infringement ("infringing

                                                                                                                                         activities") alleged in this Complaint, did in fact direct and control Defendants' infringing

                                                                                                                                         activities, and derived financial benefit from that wrongful conduct and copyright infringement.

                                                                                                                                         During March 2020 Eza Sabatini requested an expedited filing of a Certificate of Cancellation of

                                                                                                                                         Sabatini Custom Tailor, LLC. Exhibit “D”.

                                                                                                                                         12.    Defendant Sabatini of London, LLC is a duly registered Virginia Limited Liability
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         Company, formed October 9, 2020, with its principal office address of 7118 Murray Lane,

                                                                                                                                         Annandale, Virginia 22003, is engaged in the business of selling custom tailored retail apparel for

                                                                                                                                         men and women, online at its website <www.sabatinioflondon.com> and through fittings made on
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                                                                                                                                         its business premises. Exhibit “E”.
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                                                                                                                                         13.    Upon information and belief, Defendant Izak Sabatini is an owner/member of Sabatini of
                                                                                                  ◊




                                                                                                                                         London, LLC, and does business as, operates, or otherwise controls Sabatini of London, LLC. Eza
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         Sabatini had the right and ability to direct or control the wrongful conduct and copyright

                                                                                                                                         infringement ("infringing activities") alleged in this Complaint, did in fact direct and control

                                                                                                                                         Defendants' infringing activities, and derived financial benefit from that wrongful conduct and

                                                                                                                                         copyright infringement. Exhibit “T”.

                                                                                                                                         14.    Upon information and belief, Defendant Suzi Sabatini is an owner/member of Sabatini of

                                                                                                                                         London, LLC, and does business as, operates, or otherwise controls Sabatini of London, LLC. Eza

                                                                                                                                         Sabatini had the right and ability to direct or control the wrongful conduct and copyright

                                                                                                                                         infringement ("infringing activities") alleged in this Complaint, did in fact direct and control

                                                                                                                                         Defendants' infringing activities, and derived financial benefit from that wrongful conduct and

                                                                                                                                         copyright infringement. Exhibit “T”.
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 6 of 18




                                                                                                                                                JURISDICTION

                                                                                                                                         15.    This court has subject matter jurisdiction over Plaintiff’s claims for unauthorized use and

                                                                                                                                         copyright infringement pursuant to 17 U.S.C. § 501.

                                                                                                                                                VENUE

                                                                                                                                         16.    Venue lies in this court under 28 U.S.C. §§ 1391 and 1400 (a).

                                                                                                                                                FACTS - THE COPYRIGHTED STYLEBOOKS
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         17.   From about the 1950's until 2000, Graphic Fashions Inc., also known as Graphic Fashions

                                                                                                                                         International (“Graphic Fashions”), created, prepared, and published clothing stylebooks annually

                                                                                                                                         or semi-annually for use by tailors and manufacturers in the custom clothing industry (“preexisting
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                                                                                                                                         material”).
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                                                                                                                                         18.   Each stylebook published by Graphic Fashions contained 160 to 260 artistic drawings and
                                                                                                  ◊




                                                                                                                                         graphic representations of men's and women's fashion clothing styles: suits, jackets, trousers, vests,
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         topcoats, tuxedos, pocket details, and measurements that Graphic Fashions had created.

                                                                                                                                         19.   Graphic Fashions also created several products (i.e., postcards, counter cards, flyers)

                                                                                                                                         including customized stylebook catalogs, wherein, the requesting custom clothing business would

                                                                                                                                         select images for their own in-house style guide.

                                                                                                                                         20.   Graphic Fashions was known throughout the custom clothing industry for the exceptional

                                                                                                                                         quality and value of the artistic drawings and graphic representations in its stylebooks. Its images

                                                                                                                                         of fashion styles are unique in the industry and were not distributed or available from any other

                                                                                                                                         source except Graphic Fashions or Plaintiff, who was its exclusive licensee and copyright assignee.

                                                                                                                                         21.   Graphic Fashions registered its stylebooks as compilations under the Copyright Act, 17

                                                                                                                                         U.S.C. § 103, which protects all the images in the stylebook from infringement.
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 7 of 18




                                                                                                                                         22.    Graphic Fashions displayed in its stylebooks the copyright notice, "© Copyright, Graphic

                                                                                                                                         Fashions Inc. Phila., PA", on the left-hand margin of each page containing one or more clothing

                                                                                                                                         style drawing.

                                                                                                                                         23.    Richard C. Ackourey, Jr. (Ackourey) is a member of Graphic Styles and has been in the

                                                                                                                                         custom clothing business since 1984, initially in retail, then with several custom tailor companies,

                                                                                                                                         and finally starting his own business, Ackourey Clothiers Incorporated, in 1996.
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         24.    Working for one of the largest custom clothier companies which had contracted with

                                                                                                                                         Graphic Fashions to design custom stylebooks for their outlets, Ackourey became familiar with

                                                                                                                                         Graphic Fashions’ illustrations.
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                                                                                                                                         25.    Ackourey utilized Graphic Fashions’ stylebooks in his custom clothier business, in meeting
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                                                                                                                                         face to face with clients.
                                                                                                  ◊




                                                                                                                                         26.    Graphic Fashions eventually downsized to publishing one stylebook a year, with its last
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                                                                                                                                         stylebook being the 1999-2000 edition, thereafter, Ackourey met with the owner, John Garner

                                                                                                                                         (Garner).

                                                                                                                                         27.    At that time Garner was 86 years old and closing the business. Garner indicated no one is

                                                                                                                                         going to draw these works to his standards. Garner suggested no one was interested in pursuing

                                                                                                                                         the business, however, Ackourey believed it had potential, and expressed his interest in seeing the

                                                                                                                                         stylebooks continue.

                                                                                                                                         28.    Ackourey contacted the Fashion Institute of America in New York, went to Moore College

                                                                                                                                         of Art and various other art schools to seek out artists capable of meeting Garner’s standards.

                                                                                                                                         Garner would critique the illustrations Ackourey would bring to him, finding them unsatisfactory

                                                                                                                                         for a stylebook.

                                                                                                                                         29.    Therefore, Garner decided to license to Ackourey rights to Garner’s illustrations. On March
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 8 of 18




                                                                                                                                         15, 2003, Graphic Fashions granted Ackourey a license to reprint the images from the 1999-2000

                                                                                                                                         Stylebook.

                                                                                                                                         30.    Through his efforts, Ackourey finally met Frank Grobelny, an artist who had previously

                                                                                                                                         done illustrations for Garner, and who started working with Ackourey. Grobelny sketched several

                                                                                                                                         illustrations for Ackourey for a 2013 stylebook.

                                                                                                                                         31.    In the meantime, Garner offers that if Ackourey wants to do anything further with Graphic
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         Fashions’ illustrations, Ackourey would have to seek legal counsel and draft any necessary

                                                                                                                                         documents. On January 5, 2004, Graphic Fashions expressly granted Ackourey, the exclusive

                                                                                                                                         rights, for the life of the copyrights, to reproduce all copyrighted works owned by Graphic
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                                                                                                                                         Fashions, and to create derivatives of, display, distribute, and transmit copies of, its copyrighted
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                                                                                                                                         works. Graphic Fashions also assigns to Ackourey all rights in derivative works created using the
                                                                                                  ◊




                                                                                                                                         copyrighted works.
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                                                                                                                                         32.    On July 3, 2007, Graphic Fashions expressly assigned to Plaintiff in writing "the entire title,

                                                                                                                                         right, interest, ownership and all subsidiary and intellectual property rights in and to" all copyrights

                                                                                                                                         registered to Graphic Fashions, "including but not limited to copyrights and the right to secure

                                                                                                                                         registered copyrights therein and to any resulting registrations in Assignee's name as claimant, and

                                                                                                                                         the right to secure renewals, and extensions of any such copyright or copyright registrations in the

                                                                                                                                         United States of America or foreign country as well as all choses [sic] in action relating to the

                                                                                                                                         [Graphic Fashion's copyrights], claims for damages, profits, and costs, both in equity and law, for

                                                                                                                                         any infringement of the [Graphic Fashion's copyrights]." A copy of the Copyright Assignment is

                                                                                                                                         attached as Exhibit “L”.
                                                                                                                                             Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 9 of 18




                                                                                                                                         33.     Using these drawings, and a few new illustrations, Ackourey published a 20051 and 20062

                                                                                                                                         stylebook that each depicts a range of fashion clothing styles for men and women. Ackourey

                                                                                                                                         registered the 2005 and 2006 stylebooks as compilation copyrights on January 27, 2009, and

                                                                                                                                         January 30, 2009, respectively.

                                                                                                                                         34.     Plaintiff sells copies of the stylebooks to tailors and other tailored clothing businesses for

                                                                                                                                         their individual use in working face to face with customers. Prominent notices in the books prohibit
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         any other use without express permission.

                                                                                                                                         35.     The first page of both the 2005 Stylebook and 2006 Stylebook prominently displayed the

                                                                                                                                         statement that:
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                                                                                                                                         The images found in the Styles International Stylebook may not be reproduced in any form
                                                                                                                                         or by any means - graphic, electronic, or mechanical, including photo copying or
                                                                                         (215) 230-3761
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                                                                                                                                         information storage and retrieval systems - without the expressed written consent and
                                                                                                  ◊




                                                                                                                                         permission of the copyright holder.
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                                                                                                                                         36.     The first page of the 2006 Stylebook also has a message from Plaintiff:

                                                                                                                                         I encourage you to use this book to enhance your business, however, please do it legally .
                                                                                                                                         . . . Any unlawful use or violation of the copyright laws for these illustrations will be
                                                                                                                                         prosecuted to the fullest extent of the law.

                                                                                                                                         37.     The margin of the left-hand page in each stylebook also carried a copyright notice, "©

                                                                                                                                         Copyright, Graphic Fashions Inc. Phila., PA".

                                                                                                                                         38.     Although the infringed images appeared in Plaintiff’s copyrighted stylebooks, the images


                                                                                                                                         1
                                                                                                                                           In 2005 Plaintiff prepared, published, and distributed the Graphic Styles International Stylebook, Best of Seasons
                                                                                                                                         through Spring and Summer 2005 (“2005 Stylebook”), containing 220 images of drawings for men's and women's
                                                                                                                                         fashion clothing styles: suits, jackets, trousers, vests, topcoats, tuxedos, pocket details, and measurements, many of
                                                                                                                                         which were selected from the earlier preexisting material, i.e., stylebooks Graphic Fashions had published and
                                                                                                                                         registered as compilations under the Copyright Act. Plaintiff registered the 2005 Stylebook as a compilation under
                                                                                                                                         copyright registration number TX 6-956-665. The copyright protections in the preexisting material are undisturbed
                                                                                                                                         and are herein independently enforced and damages independently pursued.
                                                                                                                                         2
                                                                                                                                           In 2006 Plaintiff prepared, published, and distributed the Graphic Styles International Stylebook, Best of Seasons
                                                                                                                                         2006 ("2006 Stylebook"), containing 367 images of drawings for men's and women's clothing designs: suits, jackets,
                                                                                                                                         trousers, vests, topcoats, tuxedos, pocket details, and measurements, selected from earlier stylebooks Graphic Fashions
                                                                                                                                         had published and registered as compilations under the Copyright Act. Plaintiff registered the 2006 Stylebook as a
                                                                                                                                         compilation under copyright registration number TX 6-956-762. The copyright protections in the preexisting material
                                                                                                                                         are undisturbed and are herein independently enforced and damages independently pursued.
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 10 of 18




                                                                                                                                         are subject to re-use and redistribution in accordance with various licensing arrangements.

                                                                                                                                         Ackourey has licensed selected individual images for use in a promotional brochure by a clothing

                                                                                                                                         manufacturer. Plaintiff has established independent economic value for the images for licensing

                                                                                                                                         purposes.

                                                                                                                                         39.   Plaintiff sets fees at $1,850.00 for an illustration and $2,500.00 for a cover illustration for

                                                                                                                                         up to one year’s use of single image. Renewal fees are set at $600.00 for an illustration and
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         $825.00 per year for a cover illustration.

                                                                                                                                         40.   Southwick Clothing Corporation, contacted Ackourey to license drawings a Southwick

                                                                                                                                         representative had seen in the 2005 Style Book, at a tailor shop in Texas. The representative saw
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                                                                                                                                         the book and called Ackourey to create a custom book. A custom book was crafted by Ackourey,
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                                                                                                                                         utilizing 12 illustrations Southwick selected from the 2005 Stylebook. Approximately 350 units
                                                                                                  ◊




                                                                                                                                         were sold to Southwick at approximately $75 a unit. The custom book included the copyright
                                                             252 West Swamp Road, Suite 13




                                                                                                                                         disclaimer, “Copyright, Graphic Fashions, Inc. Phila., Pa.” on each illustration and the inside

                                                                                                                                         contents page.

                                                                                                                                         41.   Additionally, another division of Southwick entered into a licensing agreement for four

                                                                                                                                         illustrations to produce 500 copies of a countertop brochure. Southwick paid six thousand dollars

                                                                                                                                         ($6,000.00) for the licensing of the four illustrations.

                                                                                                                                         42.   On August 16, 2007, Ackourey formed Graphic Styles/Styles International LLC because of

                                                                                                                                         the stylebooks initial success in generating licensing agreements and the future potential.

                                                                                                                                         43.   Graphic Styles/Styles International LLC carries a substantial portion of its value in

                                                                                                                                         intellectual property and herein seeks to enforce its copyrights.
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 11 of 18




                                                                                                                                         44.   Ackourey assigned the copyrights to Graphic Styles/Styles International. Ackourey’s

                                                                                                                                         Graphic Styles/Styles International LLC carries a substantial portion of its value in intellectual

                                                                                                                                         property and herein seeks to enforce its copyrights. Exhibit “N”.

                                                                                                                                                DEFENDANTS' SERIAL INFRINGEMENT

                                                                                                                                         45.    In June of 2008 Defendants reproduced and displayed on their website they established and

                                                                                                                                         controlled, drawings of men's and women's fashion clothing styles copied directly from
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         copyrighted stylebooks, without any authorization or permission from Plaintiff. Exhibit “O”.

                                                                                                                                         46.    On or about June 27, 2008, Plaintiff through counsel sent Defendants a cease-and-desist

                                                                                                                                         letter. Exhibit “P”.
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                                                                                                                                         47.    In July of 2008 Defendants reproduced and displayed on their website they established and
                                                                                         (215) 230-3761
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                                                                                                                                         controlled, drawings of men's and women's fashion clothing styles copied directly from
                                                                                                  ◊




                                                                                                                                         copyrighted stylebooks, with the heads of the models removed, without any authorization or
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                                                                                                                                         permission from Plaintiff. Exhibit Q.

                                                                                                                                         48.    On or about July 30, 2008, Plaintiff through counsel sent Defendants a cease-and-desist

                                                                                                                                         letter. Exhibit “R”.

                                                                                                                                         49.    Upon information and belief, Defendants ceased their copyright infringement until at or

                                                                                                                                         about March 2013.

                                                                                                                                         50.    Defendants utilize the website <www.sabatinioflondon.com>, beginning in approximately

                                                                                                                                         March 2013 and continuing to the filing of this Complaint and beyond, to display images showing

                                                                                                                                         fashion styles that were copied from the Plaintiff’s Stylebooks. Exhibit “M”.

                                                                                                                                         51.    Defendants did not attribute the artistic drawings as belonging to Plaintiff but passed off

                                                                                                                                         the artistic drawings as original to Defendants.
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 12 of 18




                                                                                                                                         52.    Defendants also placed unlawful copyright notices on webpages containing images copied

                                                                                                                                         from Plaintiff’s copyrighted stylebooks.

                                                                                                                                         53.    Defendants' specific purpose in creating and transmitting the infringing web pages, was to

                                                                                                                                         use Plaintiff’s copyrighted drawings to attract and secure purchasers for the specific fashion

                                                                                                                                         clothing styles shown in the images. Defendants' use of the copyrighted drawings to solicit sales

                                                                                                                                         and promote the business and reputation of the Defendants was a use of the copyrighted works that
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         neither Plaintiff nor Graphic Fashions had permitted Defendants to make.

                                                                                                                                         54.    Defendant knew that the drawings taken from Plaintiff’s 1993, 1997-98, 1998, 1998-99,

                                                                                                                                         1999-00, 2005 and 2006 copyrighted stylebooks were protected by copyright, that they could not
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                                                                                                                                         lawfully copy them without express permission from the copyright owner, and that the Defendants
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                                                                                                                                         had never obtained authorization from the owner of the images, to use, copy, display, and transmit
                                                                                                  ◊




                                                                                                                                         the images they had copied and displayed on the aforementioned website.
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                                                                                                                                         55.    Accordingly, on June 24, 2016, Plaintiff filed a Complaint for Copyright Infringement, in

                                                                                                                                         the matter Graphic Styles/Styles International LLC v. Sabatini of London Co. et al. 2:16-cv-03485

                                                                                                                                         (E.D. PA) naming as defendants Sabatini of London Co. and Eza El Dak Sabatini.

                                                                                                                                         56.    On October 27, 2016, this Court entered default judgment in favor of Graphic Styles/Styles

                                                                                                                                         International LLC and against Defendants, Sabatini of London Co. Incorporated and Eza El Dak

                                                                                                                                         Sabatini in the amount of $109,154.25 for copyright infringement committed in violation of the

                                                                                                                                         Copyright Act. Exhibit “F”.

                                                                                                                                         57.    The Court further Ordered Defendants are PERMANENTLY ENJOINED from infringing

                                                                                                                                         in any manner, the copyrighted images belonging to Plaintiff. Exhibit “F”.
                                                                                                                                             Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 13 of 18




                                                                                                                                         58.        On January 19, 2017, the judgment in the matter Graphic Styles/Styles International LLC

                                                                                                                                         v. Sabatini of London Co. et al. 2:16-cv-03485 (E.D. PA) was transferred to the Fairfax Virginia

                                                                                                                                         Circuit Court. Ex “G”.

                                                                                                                                         59.        On February 2, 2017, a copy of the transferred judgment was mailed to Eza El Dak

                                                                                                                                         Sabatini. Exhibit “H”.

                                                                                                                                         60.        Upon information and belief, in the interim, on December 6, 2016, in order to evade the
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         judgment and continue the infringement, Eza E. Sabatini formed a new entity, Sabatini of London

                                                                                                                                         LLC. Defendant Sabatini of London LLC, is a duly registered Virginia Limited Liability

                                                                                                                                         Company, formed December 6, 2016, with its principal place of business and registered office
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                                                                                                                                         address of 1515 Greatfalls Street, Unit 334, McLean, Virginia 22101, is engaged in the business
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                                                                                                                                         of selling custom tailored retail apparel for men and women, online at its website
                                                                                                  ◊




                                                                                                                                         <www.sabatinioflondon.com>3 and through fittings made on its business premises. Exhibit “B”.
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                                                                                                                                         61.        Defendant Eza E. Sabatini is the registered agent and organizer of Sabatini of London

                                                                                                                                         LLC. Exhibit “B”. Upon information and belief, Defendant Eza E. Sabatini is an owner/member

                                                                                                                                         of Sabatini of London LLC, and does business as, operates, or otherwise controls Sabatini of

                                                                                                                                         London LLC. Eza El Dak Sabatini had the right and ability to direct or control the wrongful

                                                                                                                                         conduct and copyright infringement ("infringing activities") alleged in this Complaint, did in fact

                                                                                                                                         direct and control Defendants' infringing activities, and derived financial benefit from that

                                                                                                                                         wrongful conduct and copyright infringement.

                                                                                                                                         62.        Upon information and belief on or about December 6, 2016 until March 2019 Defendants

                                                                                                                                         were continuing their infringement of Plaintiff’s copyrights having posted twenty-one (21)




                                                                                                                                         3
                                                                                                                                             Exhibit B
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 14 of 18




                                                                                                                                         drawings of men's and women’s fashion clothing styles copied directly from copyrighted

                                                                                                                                         stylebooks, without any authorization or permission from Plaintiff. Exhibit I

                                                                                                                                         63.    Upon information and belief, in the interim, Sabatini of London LLC stopped paying

                                                                                                                                         registration fees to the Virginia State Corporation Commission and on March 31, 2018, became

                                                                                                                                         inactive, but has not been dissolved.

                                                                                                                                         64.    As of March 7, 2019, Defendants were continuing their infringement of Plaintiff’s
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         copyrights having posted five (5) drawings of men's and women’s fashion clothing styles copied

                                                                                                                                         directly from copyrighted stylebooks, without any authorization or permission from Plaintiff.

                                                                                                                                         Exhibit “J”.
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                                                                                                                                         65.    Upon information and belief, on April 11, 2019, in order to evade the judgment and
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                                                                                                                                         continue the infringement, Eza Sabatini formed a new entity, Sabatini Custom Tailor, LLC, a duly
                                                                                                  ◊




                                                                                                                                         registered Virginia Limited Liability Company, with its principal office address where the records
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                                                                                                                                         of the limited liability company are kept of 7118 Murray Lane, Annandale, Virginia 22003, is

                                                                                                                                         engaged in the business of selling custom tailored retail apparel for men and women, online at its

                                                                                                                                         website <www.sabatinioflondon.com> and through fittings made on its business premises. Exhibit

                                                                                                                                         “C”.

                                                                                                                                         66.    Upon information and belief, on or about April 11, 2019, Defendant changed the address

                                                                                                                                         on their website from 1515 Great Falls Street, McLean Virginia to 7118 Murray Lane, Annandale

                                                                                                                                         Virginia.

                                                                                                                                         67.    Upon information and belief, from about April 11, 2019, until March 30, 2020, Defendants

                                                                                                                                         reproduced and displayed on their website they established and controlled, five (5) drawings of

                                                                                                                                         men's and women’s fashion clothing styles copied directly from copyrighted stylebooks, without

                                                                                                                                         any authorization or permission from Plaintiff. Exhibit “J”.
                                                                                                                                             Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 15 of 18




                                                                                                                                         68.      Upon information and belief, on March 30, 2020, in order to evade the judgment and

                                                                                                                                         continue the infringement, Defendants filed a Certificate of Cancellation for the entity Sabatini

                                                                                                                                         Custom Tailor, LLC. Exhibit “S”.

                                                                                                                                         69.     Upon information and belief, on October 9, 2020, in order to evade the judgment and

                                                                                                                                         continue the infringement, Izak Sabatini and Suzi Sabatini formed a new entity, Sabatini of

                                                                                                                                         London, LLC. Exhibit “E”.
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         70.     Upon information and belief defendants at or about October 9, 2020, and continuing to the

                                                                                                                                         present day, Defendants reproduced and displayed on their website they established and controlled,

                                                                                                                                         drawings of men's fashion clothing styles copied directly from copyrighted stylebooks, without
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                                                                                                                                         any authorization or permission from Plaintiff. Exhibit K.
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                                                                                                                                                                               COUNT ONE
                                                                                                  ◊




                                                                                                                                                               COPYRIGHT INFRINGEMENT - 17 U.S.C. § 501, ET SEQ.
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                                                                                                                                         71.     Plaintiff incorporates the prior paragraphs by reference.

                                                                                                                                         72.     Plaintiff is the sole owner by recorded assignment of all registered copyrights covering

                                                                                                                                         stylebooks prepared, published, and distributed by Graphic Fashions, Inc., and all of the

                                                                                                                                         copyrighted images and visual representations displayed in those stylebooks.

                                                                                                                                         73.     Plaintiff is the sole owner of the registered copyrights covering the preexisting materials,

                                                                                                                                         the 1993, 1997-98, 1998, 1998-99, 1999-00, 2005, and 2006 Stylebooks, and all of the copyrighted

                                                                                                                                         images and visual representations displayed in those stylebooks.

                                                                                                                                         74.     Defendants' copying of images showing drawings of men's and women’s fashion clothing

                                                                                                                                         styles from Plaintiffs’ copyrighted stylebooks, and their display on a website to advertise, infringed

                                                                                                                                         each of the compilation copyrights that protect one or more of the 36 images.4


                                                                                                                                         4
                                                                                                                                          These 30 prior stylebooks were named and registered as follows: Designed for Winter 1961, Registration No.
                                                                                                                                         A451646; Fashions International Fall & Winter 1973-1974, Registration No. 440204; Fashions International 1974
                                                                                                                                         Spring & Summer, Registration No. A488-310; Fashions International 1975 Spring & Summer, Registration No. A
                                                                                                                                           Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 16 of 18




                                                                                                                                         75.     Defendants acted with willful blindness to and in reckless disregard of Plaintiff’s registered

                                                                                                                                         copyrights, including the several copyright notices accompanying the images, and the copyright

                                                                                                                                         notices displayed at the beginning of the stylebooks.

                                                                                                                                         76.     Defendants’ unabashed theft of Plaintiff’s copyrighted images; their purposeful display,

                                                                                                                                         transmission, and distribution of the copyrighted images on, <www.sabatinioflondon.com>,

                                                                                                                                         further show the willfulness of Defendants’ copyright infringement.
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         77.     In violation of this Court’s Order of October 27, 2016, noting Defendants are
                                                                                                                                         PERMANENTLY ENJOINED from infringing in any manner, the copyrighted images belonging
                                                                                                                                         to Plaintiff, Defendants as serial copyright infringers continue to reproduce and display on their
                                                                                                                                         website they established and control, drawings of men's and women's fashion clothing styles
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                                                                                                                                         copied directly from copyrighted stylebooks, without any authorization or permission from
                                                                                         (215) 230-3761




                                                                                                                                         Plaintiff -the owner of all right, title, and interest in all copyrights covering the drawings and
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                                                                                                                                         stylebooks- despite an express Order from this Court.
                                                                                                                                         78.     As a result of their wrongful conduct, Defendants are liable to Plaintiff for copyright
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                                                                                                                                         infringement under 17 U.S.C. § 501.


                                                                                                                                         591921; Fashions International Spring & Summer 1976, Registration No. A722732; Fashions International Fall-
                                                                                                                                         Winter 1977-1978, Registration No. A900783; Fashions International Fall-Winter 1978-1979, Registration No.
                                                                                                                                         TX0000054929; Fashions International Fall-Winter 1980-1981, Registration No. TX0000539997; Fashions
                                                                                                                                         International Fall-Winter 1981-1982, Registration No. TX0000731329; Fashions International Spring-Summer 1982,
                                                                                                                                         Registration No. TX0000821050; Fashions International Fall-Winter 1982-1983, Registration No. TX0001067384;
                                                                                                                                         Fashions International Spring-Summer 1984, Registration No. TX0001269970; Fashions International Fall-Winter
                                                                                                                                         1984-1985, Registration No. TX0001378891; Fashions International Spring-Summer 1985, Registration No.
                                                                                                                                         TX0001501023; Fashions International Fall-Winter 1985-1986 Registration No. TX0001662171; Fashions
                                                                                                                                         International Spring-Summer 1986, Registration No. TX0001714805; Fashions International Fall-Winter 1986-1987,
                                                                                                                                         Registration No. TX0001838271; Fashions International Fall-Winter 1987-1988, Registration No. TX0002150566;
                                                                                                                                         Fashions International Spring-Summer 1988, Registration No. TX0002240703; Fashions International Fall and Winter
                                                                                                                                         1988-1989, Registration No. TX2353266; Fashions International Spring and Summer 1989, Registration No.
                                                                                                                                         TX2509479; Fashions International Autumn-Winter 1989-1990, Registration No. TX0002611019; Fashions
                                                                                                                                         International Fall-Winter 1990-1991, Registration No. TX0002902726; Fashions International Spring-Summer 1991,
                                                                                                                                         Registration No. TX0003053310; Fashions International Spring-Summer 1992, Registration No. TX0003229071;
                                                                                                                                         Fashions International Spring-Summer 1993, Registration No. TX0003446818; Fashions International Fall-Winter
                                                                                                                                         1997-1998, Registration No. TX0004621545; Distinctive Fashions 1998 Registration No. TX0005253538; Fashions
                                                                                                                                         International Fall-Winter 1998-1999, Registration No. TX0004831173; and Fashions International Styles for Seasons
                                                                                                                                         1999-2000, Registration No. TX0005037124; Registration No. TX0005037124; Graphic Styles International
                                                                                                                                         Stylebook, Best of Seasons through Spring and Summer 2005 Registration No. TX 6-956-665; Graphic Styles
                                                                                                                                         International Stylebook, Best of Seasons 2006 Registration No. TX 6-956-762.
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                                                                                                                                         79.    Plaintiff is entitled to recover, under 17 U.S.C. § 504(b), actual damages for its established

                                                                                                                                         fees for individual illustrations of up to One Thousand, Eight Hundred and Fifty Dollars

                                                                                                                                         ($1,850.00) and yearly renewal fees of up to Six Hundred Dollars ($600.00) for copying and

                                                                                                                                         website publishing, and any of Defendants' profits that are attributable to Defendants'

                                                                                                                                         infringement.

                                                                                                                                         80.    In the alternative, Plaintiff claims statutory damages under 17 U.S.C. §504(c) for
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                         Defendants' unauthorized use and copyright infringement of up to 7 of Plaintiff’s registered

                                                                                                                                         copyrighted works.

                                                                                                                                         81.    Defendants' infringement has been willful within the meaning of the Copyright Act, so the
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                                                                                                                                         Court's award of actual or statutory damages should be enhanced in accordance with 17 U.S.C. §
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                                                                                                                                         504(c)(2).
                                                                                                  ◊




                                                                                                                                         82.    Plaintiff is also entitled to recover its attorney fees and expenses incurred in suit, including
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                                                                                                                                         its costs of investigation under 17 U.S.C. §505 and other equitable doctrines.

                                                                                                                                         RELIEF REQUESTED

                                                                                                                                         WHEREFORE, Plaintiff requests judgment against Defendants as follows:

                                                                                                                                                A.       That the Court enter a judgment against Defendants that:
                                                                                                                                                         i.    Defendants have willfully infringed Plaintiff’s federally registered
                                                                                                                                                               copyrights under 17 U.S.C. § 501.
                                                                                                                                                         ii.   Defendants have otherwise injured the business reputation and business of
                                                                                                                                                               Plaintiff by their acts and conduct set forth in this Complaint.
                                                                                                                                                B.       Defendants shall pay Plaintiff’s general, special, actual, and statutory damages, and
                                                                                                                                                         disgorge profits attributable to Defendants' infringement, under 17 U.S.C. § 504(b),
                                                                                                                                                         or in the alternative, enhanced statutory damages under 17 U.S.C. § 504(c)(2), for
                                                                                                                                                         Defendants' willful infringement of Plaintiff’s copyrights.
                                                                                                                                                C.       Defendants shall pay Plaintiff for his costs incurred in prosecuting this action,
                                                                                                                                                         Plaintiffs costs of investigating Defendants' willful infringement, and his
                                                                                                                                                         reasonable attorney fees.
                                                                                                                                          Case 2:22-cv-00067-WB Document 1 Filed 01/07/22 Page 18 of 18




                                                                                                                                              D.     Defendants shall cease and desist immediately from all use, copying, reproducing,
                                                                                                                                                     displaying or transmitting in any form, including electronically, any and all of
                                                                                                                                                     Plaintiff’s copyrighted works, drawings, and images.
                                                                                                                                              E.     Plaintiff claims damages for the infringement of the 1993, 1997-98, 1998, 1998-99,
                                                                                                                                                     1999-00, 2005, and 2006 Stylebooks as compilations and independently for the
                                                                                                                                                     copyright protections in the preexisting material.
                                                                                                                                              F.     The Court shall grant Plaintiff such other and additional relief as is just and proper.
                                                                                                                                         JURY DEMAND
                                                                                                        Doylestown, Pennsylvania 18901




                                                                                                                                              PLAINTIFF hereby demands trial by jury on all issues triable to a jury.

                                                                                                                                                                                   LAW OFFICES
                                                                                                                                         DATED: December 15, 2021
                                                                                                                                                                                   MICHAEL J. BROOKS, ESQUIRE
                                                                                                                                                                                   Attorney-at-Law
                                                                                                                                                                                   252 West Swamp Road, Suite 13
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                                                                                                                                                                                   (215) 230-3761
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                                                                                                                                                                            By: __________________________________________
                                                                                                                                                                                Michael J. Brooks, Esquire
                                                             252 West Swamp Road, Suite 13




                                                                                                                                                                                Attorney for Plaintiff
                                                                                                                                                                                PA Supreme Court I.D. No. 74630
